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 8                       UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,              Case No. 18-CR-3262-JLS
11
                       Plaintiff,           Hon. Janis L. Sammartino
12
           v.                               ORDER TO PERMIT SERVICE
13                                          PROVIDER VISITATION FOR
     ANDREA MICHELLE PRECIADO               DEFENDANT AT OTAY MESA
14
                       Defendant.
15
16
           Good Cause Having Been Shown, IT IS HEREBY ORDERED that Otay
17
     Mesa Detention Facility and United States Marshal Service permit service
18
     providers from Stepping Stone Inc. of San Diego to visit Defendant Andrea
19
     Michelle Preciado to conduct a screening intake at the detention facility on or
20
     before November 5, 2021.
21
           SO ORDERED.
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     Dated: October 26, 2021
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